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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

JAMES R. EDENS, N-60262,                     )
                                             )       No. 14 C 50056
               Plaintiff,                    )
                                             )       Hon. Philip G. Reinhard
               v.                            )       Judge Presiding
                                             )
JOHN O’BRIEN, et al.,                        )       Magistrate Judge Iain D. Johnston
                                             )
               Defendants.                   )

                                    NOTICE OF MOTION

TO:     All Counsel of Record

        PLEASE TAKE NOTICE that on September 16, 2014 at 9:00 a.m., I shall appear before
the Honorable Magistrate Judge Iain D. Johnston at the U. S. District Court of the Northern
District of Illinois, Western Division, at 327 South Church Street, Rockford, Illinois 61101, and
then and there present the attached DEFENDANT SHICKER’S MOTION TO DISMISS,
copy of which is attached and hereby served upon you.

LISA MADIGAN
Attorney General of Illinois                 By:     s/James P. Doran
                                                     JAMES P. DORAN
                                                     Assistant Attorney General
                                                     General Law Bureau
                                                     100 W. Randolph Street, 13th Floor
                                                     Chicago, IL 60601
                                                     312/814-7202


                                CERTIFICATE OF SERVICE

       The undersigned, being first duly sworn upon oath, deposes and states that a copy of the
foregoing was served to all counsel of record, electronically on August 27, 2014.

                                                     s/James P. Doran
